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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
12
     TRADER JOE’S COMPANY, a California             Case No. 3:23-cv-01148-CRB
13   corporation,
                                                    DECLARATION OF SCOTT W. PINK IN
14                        Plaintiff,                SUPPORT OF TRADER JOE’S EX PARTE
                                                    MOTION FOR PERMISSION TO EFFECT
15          v.                                      SERVICE OF PROCESS BY
                                                    ALTERNATIVE MEANS AND
16   DESERTCART TRADING FZE, a United               EXTENSION OF TIME TO SERVE
     Arab Emirates company, PIFFERT INC., a         DEFENDANT DESERTCART TRADING
17   Delaware corporation, and DOES 1-5,            FZE
18                        Defendants.               Date:    June 16, 2023
                                                    Time:    10:00 a.m.
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                                                    Judge:   Hon. Charles R. Breyer
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                                                                                 DECLARATION OF
                                                                                   SCOTT W. PINK
                                                                                  23-CV-01148-CRB
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 1                               DECLARATION OF SCOTT W. PINK
 2   I, Scott W. Pink, declare as follows:
 3          1.      I am over 18 years of age and make this declaration based upon personal
 4   knowledge of facts set forth below except as to those matters stated on information and belief. As
 5   to those matters, I am informed and believe them to be true. If called upon to testify, I could and
 6   would testify under oath to the matters set forth herein.
 7          2.      I am an attorney licensed to practice law under the laws of the State of California
 8   and am special counsel with the law firm O'Melveny & Myers LLP, attorneys for Plaintiff Trader
 9   Joe’s Company (“Trader Joe’s”) in this matter. This declaration is filed in support of Trader Joe’s
10   Motion to Serve Defendant DesertCart Trading FZE (“DesertCart”) by Alternative Means, filed
11   contemporaneously with this declaration.
12          3.      On or about March 21, 2023, I spoke with Hamza Inatz of Defendant Piffert Inc.
13   (“Piffert”) on the telephone. I asked Mr. Inatz whether Piffert is related to DesertCart. Mr. Inatz
14   informed me that Piffert has no corporate relationship to DesertCart.
15          4.      On or about May 9, 2023, I spoke with Mr. Inatz again on the telephone. I asked
16   Mr. Inatz whether he had any contact information for DesertCart. Mr. Inatz refused to provide
17   such information, and informed me that it is “not their job to get us that information.”
18          I declare under penalty of perjury under the laws of the United States of America that the
19   foregoing is true and correct, and was executed on June 7, 2023 at Menlo Park, California.
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21                                                By: /s/ Scott W. Pink
                                                          Scott W. Pink
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                                                                                       DECLARATION OF
                                                     -2-                                 SCOTT W. PINK
                                                                                        23-CV-01148-CRB
